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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
JUNO USA, LP, Case No. 19-12484 (MFW)
Debtor. Related Docket No. 4

Employer’s Tax Identification No. XX-XXXXXXX

 

In re: Chapter 11
GT FORGE, INC., Case No. 19-12486 (MFW)
Debtor. Related Docket No. 3

Employer’s Tax Identification No. XX-XXXXXXX

 

In re: _ | Chapter 11
SABO ONE LLC, _ | Case No. 19-12487 (MFW)
Debtor. Related Docket No. 3

Employer’s Tax Identification No. XX-XXXXXXX

 

In re: Chapter 11
JUNO OREGON LLC, Case No. 19-12488 (MFW)
Debtor. Related Docket No. 3

Employer’s Tax Identification No. XX-XXXXXXX

 

 

 
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In re: Chapter 11
VULCAN CARS LLC, Case No. 19-12490 (MFW)
Debtor. Related Docket No. 3

Employer’s Tax Identification No. XX-XXXXXXX

 

In re: Chapter 11
OMAHA LLC, Case No. 19-12491 (MFW)
Debtor. Related Docket No. 3

Employer’s Tax Identification No. XX-XXXXXXX

 

 

ORDER DIRECTING THE JOINT ADMINISTRATION
OF THE DEBTORS’ CHAPTER 11 CASES

This matter coming before the Court on the Motion of the Debtors for Entry of an Order
Directing the Joint Administration of the Debtors’ Chapter 11 Cases (the “Motion”)! for an order
pursuant to section 342(c)(1) of the Bankruptcy Code, Bankruptcy Rule 1015, and Local Rule
1015-1, authorizing and directing the procedural consolidation and joint administration of the
Debtors’ Chapter 11 Cases and granting related relief, all as further described in the Motion; the
Court having found that (1) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
and 1334 and the Amended Standing Order of Reference from the United States District Court for
the District of Delaware, dated February 29, 2012, (ii) venue is proper in this district pursuant to
28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding pursuant to 28 U.S.C. § 157(b), and (iv)
notice of the Motion is adequate and appropriate under the particular circumstances; the Court

having reviewed the Motion and the First Day Declaration and having considered the statements

 

Capitalized terms used but not otherwise defined in this Order shall have the meanings given to them in the Motion.

 
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of counsel and the evidence adduced with respect to the Motion at the hearing; after due
deliberation thereon, and good and sufficient cause appearing therefor,
IT Is HEREBY ORDERED Tuart:

1. The Motion is GRANTED, as set forth in this Order.

2. The above-captioned cases are consolidated for procedural purposes only and shall
be administered jointly under Case No. 19-12484 (MFW) in accordance with the provisions of
Bankruptcy Rule 1015 and Local Rule 1015-1.

3. The consolidated caption of the jointly administered Chapter 11 Cases shall read as
follows:

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11
JUNO USA, LP, et al.,! Case No. 19-12484 (MFW)
Debtors. (Jointly Administered)

 

 

The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number,
are: Juno USA, LP (5772); Sabo One LLC (2759); Juno Oregon LLC (4462); Vulcan Cars LLC (4733); GT Forge,
Inc. (1093); and Omaha LLC (8656). The mailing address for the Debtors listed above is 74 West Long Lake
Road, Suite 205, Bloomfield Hills, Michigan 48304.

4. The foregoing consolidated caption shall be deemed to satisfy any applicable
requirements of section 342(c) of the Bankruptcy Code and Bankruptcy Rule 2002(n).
5. A docket entry shall be made on the docket in the chapter 11 case of each of the
Debtors, except Juno USA, LP, substantially stating as follows:
“An order has been entered in this case consolidating this case with
the case of Juno USA, LP, Case No. 19-12484 (MFW), for

procedural purposes only and providing for its joint administration
in accordance with the terms thereof. The docket in Case No. 19-

12484 (MFW) should be consulted for all matters affecting this
case.”

 
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6. The Clerk of the Court shall maintain one file and one docket for the Debtors’
Chapter 11 Cases, which file and docket shall be the file and docket for the chapter 11 case of Juno
USA, LP, Case No. 19-12484 (MFW).

7. All pleadings and other documents to be filed in the jointly administered cases shall
be filed and docketed in the case of Juno USA, LP, Case No. 19-12484 (MFW).

8. Notwithstanding the foregoing, any creditor filing a proof of claim against any of
the Debtors shall clearly assert such claim against the particular Debtor obligated on such claim
and not against the jointly administered Debtors, except as otherwise provided in any other order
of this Court.

9. Nothing contained in this Order shall be deemed or construed as directing or
otherwise effecting the substantive consolidation of any of the above-captioned cases.

10. The terms and conditions of this Order shall be immediately effective and
enforceable upon its entry.

11. This Court shall retain jurisdiction with respect to all matters arising from or related
to the implementation and/or interpretation of this Order.

Dated: November 21, 2019
Wilmington, Delaware

 

United States Bankruptcy Court

 
